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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                    Senior Judge R. Brooke Jackson

   Civil Action No. 1:22-cv-02622-RBJ

   UNITED STATES,

           Plaintiff,

   v.

   LIBERTY GLOBAL, INC.,

           Defendant.




                                   ORDER ON MOTION TO DISMISS


           This matter is before the Court on defendants’ motion to on defendant’s motion to

   dismiss at ECF No. 24. The motion is DENIED.

                                                BACKGROUND

           These facts are taken from the amended complaint, ECF No. 4, and viewed in the light

   most favorable to plaintiff at this stage.

           Liberty Global, Inc. (LGI) is a multinational telecommunications company. LGI was

   advised on tax matters by Deloitte, LLC. In June 2018, Deloitte approached LGI about an

   opportunity to exploit a perceived loophole in the international tax provisions of the 2017 Tax

   Cuts and Jobs Act (TCJA). With Deloitte’s assistance, LGI planned a four-step series of

   transactions that it code-named “Project Soy,” which would allow LGI to avoid global intangible

   low tax income and capital gain taxes on billions of dollars of unrealized gain from LGI’s

   interest in one of its sub-entities.

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          In June 2019, Treasury issued temporary regulations addressing the international tax

   changes made by the TCJA. LGI filed a consolidated federal income tax return for its 2018 tax

   year on October 11, 2019, then filed an amended return on December 23, 2019. The initial

   return reported the fourth step of Project Soy in a manner that was consistent with the temporary

   Treasury regulations. The amended return adopted the position that the regulations were invalid

   and claimed a refund of $95,783,237 as a result.

          The income at issue is income from the “TGH transaction.” In that transaction, which

   occurred in December 2018, an LGI affiliate sold its interest in Telenet Group Holding (TGH), a

   Belgian company, to LGI’s parent company, Liberty Global (based in the UK). Under the

   relevant tax laws at the time, LGI was required to recognize income equal to its share of gain

   from the TGH transaction. It sought to deduct that income using § 245A of the Tax Cuts and

   Jobs Act of 2017 (TCJA), Pub. L. No. 115-97, 131 Stat. 2054 (2017). LGI claims that it met the

   requirements to receive the § 245A deduction for the TGH transaction. However, because the

   temporary regulations, adopted in June 2019, were made retroactive, LGI did not receive the full

   deduction.

          After LGI filed its amended return claiming a federal income tax refund, the IRS began to

   review LGI’s Project Soy transactions. LGI produced some, but not all, the information

   requested. On November 19, 2020 the IRS issued a delinquency notice to LGI regarding the

   missing information and included a deadline of November 27, 2020 to respond to the notice

   before the IRS might seek to issue and enforce a formal summons for the information in a federal

   court proceeding.




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           On November 27, 2020 LGI filed a complaint in federal district court seeking a refund of

   approximately $110 million that it alleges to have overpaid for its 2018 year.1 Because it still

   had not provided the information sought by the IRS, the United States answered that discovery

   was necessary to determine the extent of LGI’s earnings and profits and the nature of the

   transactions.

           On April 4, 2022 the Court granted in part LGI’s motion for summary judgment,

   concluding that the 2019 temporary Treasury regulations did not comply with the requirements

   of the Administrative Procedure Act and therefore did not have valid retroactive effect over the

   transactions occurring in LGI’s 2018 tax year, but denying the motion “to the extent that factual

   questions remain on LGI’s compliance with the underlying tax laws in the TGH transactions.”

   Case No. 1:20-cv-03501-RBJ, ECF No. 46 at 15.

           LGI now moves to dismiss the amended complaint, arguing that the government “failed

   to comply with the statutory prerequisites necessary to bring its lawsuit.” ECF No. 24 at 1. I

   find that the requirements to which LGI refers do not apply to this lawsuit and therefore deny the

   motion to dismiss.

                                            LEGAL STANDARD

           To survive a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the complaint must

   contain “enough facts to state a claim to relief that is plausible on its face.” Ridge at Red Hawk,

   L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly,



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     Tax litigators apparently are starting to recommend strategies for bypassing the administrative process
   (filing a tax return claiming a benefit and then undergoing an audit if selected) by instead paying the tax
   and then bringing a section 7422 refund suit in federal court. See ECF No. 26 at 2 (citing ECF No. 26-1
   at 4, “Skadden Insights: Challenging Tax Cuts and Jobs Act Regulations and IRS Guidance”
   (1/21/2020)).

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   550 U.S. 544, 570 (2007)). While the Court must accept the well-pleaded allegations of the

   complaint as true and construe them in the light most favorable to the plaintiff, Robbins v.

   Wilkie, 300 F.3d 1208, 1210 (10th Cir. 2002), purely conclusory allegations are not entitled to be

   presumed true, Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009).

          However, so long as the plaintiff offers sufficient factual allegations such that the right to

   relief is raised above the speculative level, he has met the threshold pleading standard. See

   Twombly, 550 U.S. at 556. “The court’s function on a Rule 12(b)(6) motion is not to weigh

   potential evidence that the parties might present at trial, but to assess whether the plaintiff’s

   complaint alone is legally sufficient to state a claim for which relief may be granted.” Sutton v.

   Utah State Sch. for Deaf & Blind, 173 F.3d 1226, 1236 (10th Cir. 1999) (quoting Miller v. Glanz,

   948 F.2d 1562, 1565 (10th Cir. 1991)).

                                               ANALYSIS

          Defendant argues that the government is barred from maintaining this suit for the 2018 tax

   deficiency because of the government’s failure to provide a timely notice of deficiency. See ECF

   No. 24 at 1-2 (citing 26 U.S.C. § 6213(a), which provides that “no assessment of a deficiency in

   respect of any tax imposed by subtitle A…and no levy or proceeding in court for its collection shall

   be made, begun, or prosecuted until such notice has been mailed to the taxpayer”). LGI asserts—

   without citing any authority—that courts have “unanimously recognized that Congress established a

   mandatory rule” in this provision that “the IRS must issue a notice of deficiency” before taking

   action to collect “any federal income tax” from a taxpayer, and maintains that this requirement

   forecloses the government’s suit here. Id. at 2; ECF No. 15 at 2.

          Defendant’s argument is misleading and inaccurate. Although the Internal Revenue Code

   may require that the IRS issue a notice of deficiency before administrative assessment of a taxpayer’s

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   obligation, that requirement is neither facially binding nor logically relevant in the present context, a

   common-law suit on the debt.

           It is “generally accepted that the Government may proceed under two methods in order to

   satisfy a taxpayer’s obligation—either through summary collection procedures, such as a tax lien or

   tax levy, or through its common-law right to sue for outstanding debt.” Shelter Mut. Ins. v. Gregory,

   555 F. Supp. 2d 922, 933 (M.D. Tenn. 2008), ), aff’d, 479 U.S. 442 (1987) (citing United States v.

   Sarubin, 507 F. 3d 811, 815-16 (4th Cir. 2007); United States v. Jersey Shore State Bank, 781 F. 2d

   974, 979 n. 4 (3d Cir. 1986); Damsky v. Zavatt, 289 F. 2d 46, 51 (2d Cir. 1961)). The parties do not

   identify, and the Court has not located, any caselaw from the Tenth Circuit explicitly recognizing or

   rejecting these dual processes for tax collection. However, the Court is persuaded by the weight of

   precedent from other circuits that these dual avenues of tax collection exist and are well recognized.

           LGI’s proposition that § 6213(a) was intended to convert the administrative route to a plenary

   scheme for income tax collection is inconsistent with the weight of authority among courts who have

   addressed this issue. Moreover, the analysis required to reach that conclusion does not comport with

   canonical approaches to statutory interpretation, which charge courts to refrain from adopting

   interpretations that would displace longstanding common-law rights or disrupt established

   distributions of power among governmental bodies in the absence of clear language demonstrating

   Congress’s intent to do so. See FBI v. Fazaga, 142 S. Ct. 1051, 1060-1061 (2022). Because there is

   no indication that § 6213(a) was intended to supplant the existing common-law avenue for the

   government to recover unpaid taxes, the Court will not infer that intent here.

           Therefore, this analysis adopts the proposition that there exist two avenues for the

   government to collect unpaid taxes: the administrative route (assessment and collection) and the

   common-law route (filing suit on the debt). Defendant alleges a defect in the government’s

   compliance with the requirements to proceed via the administrative route. However, compliance
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   with those requirements is irrelevant here because the government does not seek to proceed via the

   administrative route (and in fact was foreclosed from doing so by defendant’s own maneuvers), and

   because defendant has not shown that the notice requirements in the administrative process have

   been or should be read onto the alternative common-law process.

           First, the plain language of the Internal Revenue Code suggests that the notice requirement is

   limited to the administrative tax collection process. The Tax Code mentions the notice of deficiency

   requirement in multiple sections, but only in the context of effectuating an administrative assessment.

   See 26 U.S.C. § 6303 (providing that “the Secretary shall, as soon as practicable, and within 60 days,

   after the making of an assessment of a tax pursuant to section 6203 [which describes the procedures

   for making an assessment by recording tax liability with the Secretary of the Treasury], give notice to

   each person liable for the unpaid tax…”); see also 26 U.S.C. § 6851 (noting that “if an assessment of

   tax is made under the authority of subsection (a) [which provides for immediate execution of a tax

   determination in exigent circumstances where it appears that the taxpayer will depart or otherwise

   render ineffectual the tax proceedings] the Secretary shall mail a notice under section 6212(a) for the

   taxpayer’s full taxable year…”); see also Guide to the Internal Revenue Code of 1954, 1955 U.S.

   Code Cong. & Ad. News 1183, 1621 (“Subsequent to a valid assessment of any tax liability,…the

   Secretary…must, as soon as practicable, and within 60 days, after the making of the assessment serve

   a notice on the delinquent taxpayer stating the amount due and demanding payment thereof.”). Here,

   because no assessment was ever made, the precondition contemplated by the provisions governing

   the notice of deficiency is absent, and therefore the requirement to issue that notice does not apply.

           Defendant’s argument that section 6213(a) requires a notice of deficiency to issue before any

   recovery of unpaid income taxes can occur is based on a misleading alteration of the cited provision.

   The section provides in relevant part that “no assessment of a deficiency in respect of any tax

   imposed by subtitle A, or B, chapter 41, 42, 43, or 44 and no levy or proceeding in court for its
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   collection shall be made, begun, or prosecuted until such notice has been mailed to the taxpayer” and

   the taxpayer has had the opportunity to challenge that assessment in Tax Court if desired. See 26

   U.S.C. § 6213(a). Defendant, purporting to quote this provision, asserts that “no levy or proceeding

   in court for [the collection of a tax deficiency] shall be made, begun or prosecuted until such notice

   has been mailed to the taxpayer.” ECF No. 24 at 5.

           The bracketed substitution of the phrase “collection of a tax deficiency” for “assessment of a

   deficiency” does nothing to enhance the clarity of the quoted language and in fact contorts its

   meaning. Defendant would rework the notice requirement to apply not only after administrative

   assessment but presumably to any recovery of unpaid income taxes. See id.; cf. 781 F.2d at 979

   (contrasting the authority of the tax Collector in a previous version of section 6303(a) to “collect

   taxes solely by administrative means, such as levying on the taxpayer’s property” with the authority

   of the Commissioner of the IRS under the current statute to instead “bring civil suits to collect taxes

   owed,” which would permit recovery without involving administrative assessment). Section 6213

   applies to the IRS’s assessment and collection of tax deficiencies; it does not refer to the

   government’s full panoply of remedies for recovery of unpaid taxes.

           Defendant cannot simply refashion the Tax Code to suit its interests. It has suggested no

   reason to broaden the application of the provision beyond the denotation of its text. In fact,

   precedent and common sense demand the opposite conclusion. The Tenth Circuit in Marvel v.

   United States held that the trappings of “a formal act of assessment”—including notices of deficiency

   or assessment—did not “affect the taxpayers’ liability or defeat the government’s counterclaim for

   unpaid [employment] taxes,” because the taxpayers’ liability arose independently of the

   government’s processes for collecting those taxes, and because the taxpayers had a full opportunity

   to be heard on the merits by litigating the government’s counterclaim. 719 F.2d 1507, 1514 (10th

   Cir. 1983) (citing Macatee, Inc. v. United States, 214 F.2d 717, 720 (5th Cir. 1954). The fact that
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   defendant did not receive a notice of deficiency should likewise not preclude the government’s suit in

   this case, particularly since here, as in Marvel, the taxpayer “concededly had actual notice” of the tax

   liability asserted. See 719 F.2d at 1514.

           Furthermore, courts in other circuits have held that “where the government had assessed the

   taxes but failed to provide the taxpayer with notice of that assessment, [the government] could still

   proceed by suit to collect the taxes owed.” Jersey Shore, 781 F.2d at 979 (citing United States v.

   Erie Forge Co., 191 F.2d 627 (3d Cir. 1951), cert. denied, 343 U.S. 930 (1952); Jenkins v. Smith, 99

   F.2d 827 (2d Cir. 1938). These decisions permitting the government to maintain civil suits on tax

   deficiencies notwithstanding defects in the administrative procedure (in these cases, failure to

   provide notices of assessment to the taxpayers) rely on logic that is readily applicable to notices of

   deficiency as well. The court in Jersey Shore, for example, reasoned that “where the government

   intends to proceed administratively to collect the taxes due, the need for the notice provided by

   section 6303(a) and its predecessor statutes is readily apparent,” because of the government’s

   expansive summary collection powers, including levying on or distraining the taxpayer’s property

   and selling it to satisfy the tax debts. 781 F.2d at 980.

           By contrast, the Jersey Shore court continued, where “the government cannot proceed

   administratively,” and instead proceeds by civil action, “the need for notice under section 6303(a) is

   not nearly so self-evident,” because “service of the government’s complaint provides the party all the

   notice and protection required” and because the government’s collection powers are etiolated in this

   context. See id.; see also Shelter Mutual, 555 F. Supp. 2d at 933 (“The Sixth Circuit endorsed the

   logic applied by other circuit courts, reasoning that the notice provision of § 6303(a) “was designed

   to protect the taxpayer only where the summary powers of the IRS to collect taxes administratively

   are concerned, and does not restrict the government’s right to maintain a civil action against the

   taxpayer to obtain judgment for the amount due.”) (internal citations omitted).
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           Here, as in Jersey Shore and Shelter Mutual, a notice of deficiency calculated to permit the

   taxpayer to contest the assessment in Tax Court would be duplicative of the notice provided by the

   civil complaint and the opportunity to contest the alleged tax deficiency in the district court. See

   Jersey Shore, 781 F.2d at 982 (holding that there was no requirement to notify employers of their

   potential liability for employees’ unpaid taxes, because such notice would “communicate[] no

   additional information” and instead would merely create “an additional formalistic requirement” for

   the imposition of tax liability under that section, which would “thwart[] Congress’ intent to recover

   the unpaid withholding taxes from such persons”). Because requiring a duplicative notice of

   deficiency here would serve “no useful purpose”—and instead would contravene the manifest

   purpose of the Tax Code only to effectuate a formalism not grounded in text, precedent, or common

   sense—imposing such a requirement would be inappropriate. See id.

           Defendant’s lamentations of inadequate process ring particularly hollow when its own

   machinations truncated the administrative process—which would have included issuance of a notice

   of deficiency and an opportunity for defendant to be heard in Tax Court—and forced the matter into

   district court. See ECF No. 26 at 2 (citing ECF No. 26-1 at 4. Defendant cannot seek to profit by

   compelling litigation in one forum and then complain that it has been deprived some benefit provided

   by the other forum.

                                                  ORDER

           For the reasons above, the motion to dismiss at ECF No. 24 is DENIED.

           DATED this 1st day of June, 2023.

                                                           BY THE COURT:




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                                                           R. Brooke Jackson
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                                            Senior United States District Judge




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